Case 1:22-cv-01377-MN-JLH Document 329 Filed 09/18/23 Page 1 of 4 PageID #: 16582




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   APPLE INC.,                                      )
                                                    )
                 Plaintiff,                         )
                                                    )   C.A. No. 22-1377-MN-JLH
          v.                                        )
                                                    )   JURY TRIAL DEMANDED
   MASIMO CORPORATION and                           )
   SOUND UNITED, LLC,                               )
                                                    )
            Defendants.                             )
   MASIMO CORPORATION,                              )
                                                    )
                 Counter-Claimant,                  )
                                                    )
                 v.                                 )
                                                    )
   APPLE INC.,                                      )
                                                    )
                 Counter-Defendant.                 )

                          NOTICE OF SUBSEQUENT AUTHORITY

         Under Local Rule 7.1.2(b), Apple Inc. (“Apple”) hereby submits this Notice of Subsequent

  Authority regarding the parties’ Joint Claim Construction Brief for Apple Asserted Patents, D.I.

  273. Today, September 18, 2023, the Patent Trial and Appeal Board (“PTAB”) denied institution

  of Masimo’s Petition requesting inter partes review of U.S. Patent No. D962,936 (the “D’936

  Patent”), which directly addresses issues in dispute in the Markman proceedings. See Exhibit 1

  (IPR2023-00728, Paper 10). In particular, the PTAB’s decision denying institution is relevant to

  the Court’s consideration of Masimo’s arguments that claim construction should account for the

  alleged functionality of elements of Apple’s design patents and Apple’s statements during IPR

  proceedings.

         First, the PTAB rejected the same functionality arguments Masimo offered before this

  Court during the Markman proceedings. Ex. 1 at 12. (“Accordingly, we have considered
Case 1:22-cv-01377-MN-JLH Document 329 Filed 09/18/23 Page 2 of 4 PageID #: 16583




  Petitioner’s argument pertaining to potential functionality of aspects of the ’936 patent’s claimed

  design. We, however, decline to ‘factor out,’ in the manner proposed by Petitioner, aspects that

  contribute to the overall appearance of that design.”). In so doing, the PTAB rejected Masimo’s

  reliance on the same commercial embodiment it relies on in this case, the Apple Watch Series 4:

                 Furthermore, however, we share Patent Owner’s view that
                 Petitioner’s reliance on the assessment of a commercial product that
                 may be covered by the ’936 patent, e.g., the Apple Watch Series 4,
                 based on functionality disclosed as to that product’s wireless
                 charging, is problematic. As Patent Owner notes, “nothing in the
                 ’936 patent tethers the claimed ornamental shapes to wireless charge
                 components, or any other particular charging component” (see
                 Prelim. Resp. 10), yet it is features pertaining to wireless charging
                 that underscore the bulk of Petitioner’s position on functional
                 elements. See, e.g., Pet. 16–24. There is considerable tension in
                 Petitioner’s assessment that leans on the functionality of the features
                 of a commercial product rather than evaluation based on the claimed
                 design of the ’936 patent. See Berry Sterling Corp. v. Pescor
                 Plastics, Inc., 122 F.3d 1452, 1455 (Fed. Cir. 1997) (“[T]he court
                 cannot use the limitations of the commercial embodiment of the
                 underlying article of manufacture to impose limitations on the scope
                 of the design patent.”)

  Id. at 11.

          Further, the PTAB found that “the record before us is replete with various designs for the

  back or rear portions of various electronic devices, such as watches” with “apparent electrode

  geometries and arrangements shown are, in our view, clearly distinct from the claimed design of

  the ’936 patent.” Id. at 9-10. For example, it found that Masimo’s reliance on Apple utility patents

  (the same Apple utility patents at issue here) misplaced because, for example, the ’157 patent

  “includes various examples or embodiments of an electronic watch” that “present a visual

  appearance that is different or distinct from the ’936 patent design.” Id. at 10-11. The PTAB

  explained that the record evidence of “multiple alternative designs for the rear face or surface of

  an electronic device that present a distinct visual appearance is, in our view, significant in




                                                   2
Case 1:22-cv-01377-MN-JLH Document 329 Filed 09/18/23 Page 3 of 4 PageID #: 16584




  undermining Petitioner’s assertion that the ’936 patent design should be regarded largely, if not

  entirely, as including elements that are purely functional.” Id. at 11 (emphasis added).

         Second, the PTAB explained that it adopted Apple’s claim construction position, which it

  understood to defer to the patent’s figures:

                 2. Patent Owner’s Proposed Claim Construction

                 For its part, Patent Owner offers the following annotated (colorized)
                 figures showing what we understand to be Patent Owner’s claim
                 construction:




  Id. at 7; see id. at 13 (“Accordingly, we adopt the claim construction that is advanced by Patent

  Owner.”).




                                                   3
Case 1:22-cv-01377-MN-JLH Document 329 Filed 09/18/23 Page 4 of 4 PageID #: 16585




                                            Respectfully submitted,
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                                        4
